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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
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MAIKER ALEJANDRO ESPINOZA
ESCALONA, et al.,

                      Plaintiffs,

        v.                                                No. 1:25-cv-604 (CJN)

KRISTI NOEM, in her official capacity
as Secretary of Homeland Security, et al.,

                  Defendants.
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     NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL FOR PLAINTIFFS


        The Clerk will please note the appearance of the undersigned as additional counsel for

the Plaintiff.


March 4, 2025                        /s/ Arthur B. Spitzer ___________________
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